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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

United States of America,                              Criminal No. 09-172 (MJD/SRN)

                    Plaintiff,

v.                                                                  REPORT AND
                                                               RECOMMENDATION
(17) Winston Nguyen, and
(18) Hao Thi Doan,

                    Defendants.



LeeAnn K. Bell, Assistant U.S. Attorney, 600 U.S. Courthouse, 300 South Fourth Street,
Minneapolis, MN 55415, for United States of America.

Robert D. Richman, Office of the Federal Defender, 107 U.S. Courthouse, 300 South
Fourth Street, Minneapolis, MN 55415, and Daniel S. Le, Le Law Group, 333
Washington Ave. N., Suite 415, Minneapolis, MN 55401, for Defendant Nguyen.

Paul Daniel Schneck, 701 Fourth Ave. S., Suite 500, Minneapolis, MN 55415, for
Defendant Doan.


      This matter comes before the undersigned United States Magistrate Judge on

Defendant Winston Nguyen’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure (Doc. No. 597), and Defendant Hao Thi Doan’s Motion to Suppress

Evidence Obtained as a Result of Search and Seizure (Doc. No. 577). The matter has

been referred to the undersigned pursuant to 28 U.S.C. § 636 and District of Minnesota

Local Rule 72.1(a). For the reasons stated below, this Court recommends denying the

motions.

I.    FACTUAL AND PROCEDURAL BACKGROUND

      Defendants have been indicted on one count of conspiracy to manufacture
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marijuana. (Doc. No. 36.) Although each Defendant originally had filed other

dispositive motions, at the hearing in this matter Defendant Nguyen withdrew his

Motions to Suppress Eyewitness Identifications (Doc. Nos. 594 & 596), and Defendant

Doan withdrew her Motion to Suppress Statements (Doc. No. 578), and her Motion to

Suppress Eyewitness Identifications (Doc. No. 579). (Doc. No. 674 (hearing minutes).)1

II.      DISCUSSION

         With the withdrawal of Defendants’ other dispositive motions, only their

respective motions to suppress evidence obtained as a result of search and seizure remain.

Furthermore, they each present only a “four corners” objection to the search warrant, but

identify no particular deficiency of the supporting affidavit in establishing the probable

cause required to issue the warrant.

         The same issue arose earlier in this action with respect to other Defendants who

challenged the warrants authorizing the search of their residences and business premises,

which were also at issue in this investigation and prosecution. The Court notes that all of

the challenged warrants–both that at issue here and those previously challenged–were

based on the same affidavit, that of DEA Task Force Officer Anthony Fletcher. (Gov’t

Ex. 1.) The June 24, 2009, Application and Affidavit for Search Warrant he prepared

sought to search 22 different residences and businesses. (Id.)

         In its Report and Recommendation of October 9, 2009, this Court upheld the

sufficiency of probable cause to support the warrants authorizing various searches of

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               The Court has addressed Defendants’ non-dispositive motions in a separate
Order.

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other suspected premises at issue in this action. (Doc. No. 337.) The District Court

adopted that Report and Recommendation and denied all of the motions to suppress

evidence obtained pursuant to those warrants. (Doc. No. 345.)

       As noted above, the present Defendants identify no specific deficiencies in the

warrant. Moreover, the Court’s independent review of the affidavit reveals probable

cause to support the warrant. Judicial scrutiny “of the sufficiency of an affidavit should

not take the form of de novo review,” and the reviewing court should accord “‘great

deference’” to a determination of probable cause. Illinois v. Gates, 462 U.S. 213, 236

(1983) (internal citations omitted). The Fourth Amendment requires only that the issuing

magistrate “had a ‘substantial basis for . . . conclud[ing]’ that a search would uncover

evidence of wrongdoing.” Id. at 236. The magistrate need only conclude that “given all

the circumstances . . ., there is a fair probability that contraband or evidence of a crime

will be found in a particular place.” Id. at 237. Thus, “‘affidavits should be read with

common sense and not in a grudging, hyper technical fashion.’” United States v.

Goodson, 165 F.3d 610, 613 (8th Cir. 1999).

       Here, the lengthy, detailed affidavit of DEA Officer Fletcher, in addition to

providing extensive information regarding the overall conspiracy and its many suspects,

specifically identifies the particular property at issue here, 816 Pleasant Avenue, St. Paul

Park, MN, as a “suspected marijuana grow house.” (Gov’t Ex. 1.) The property is owned

by Defendant Nguyen. Officer Fletcher witnessed another suspected member of the

conspiracy visit the house and also “noticed that two large circular after-market vents had



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been installed on the roof,” a feature common to other indoor marijuana grow operations.

(Id.) Inspections of the trash discarded from Defendant Nguyen’s residence, as well as

from the residence of another participant who was suspected of actually operating the

grow house at Nguyen’s property, provided additional evidence of such an operation.

(Id.) Accordingly, the Court discerns no basis to conclude that probable cause was

lacking.

III.   RECOMMENDATION

       Based on the foregoing, and all the files, records and proceedings herein, IT IS

HEREBY RECOMMENDED that:

       1.     Defendant Nguyen’s motion to suppress evidence obtained as a result of

search and seizure [Doc. No. 597] be DENIED; and

       2.     Defendant Doan’s motion to suppress evidence obtained as a result of

search and seizure [Doc. No. 577] be DENIED.


Dated: October 13, 2010                            s/ Susan Richard Nelson
                                                 SUSAN RICHARD NELSON
                                                 United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and Recommendation by
filing with the Clerk of Court and serving all parties by October 28, 2010, a writing
which specifically identifies those portions of this Report to which objections are made
and the basis of those objections. Failure to comply with this procedure may operate as a
forfeiture of the objecting party’s right to seek review in the Court of Appeals. This
Report and Recommendation does not constitute an order or judgment of the District
Court, and it is therefore not appealable to the Court of Appeals.




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